Case 1:20-cv-24721-UU Document 54 Entered on FLSD Docket 03/07/2021 Page 1 of 3




                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF FLORIDA
                                  MIAMI DIVISION

                            Case No. 20-cv-24721-UNGARO/REID

 FEDERAL TRADE COMMISSSION,

         Plaintiff,

 v.
                                            NOTICE OF SERVING SUPPLEMENTAL
                                            ANSWERS TO FTC FIRST REQUEST
 DIGITAL INCOME SYSTEMS, INC.,              FOR PRODUCTION FROM DIS AND
 A Florida Corporation,                     SUPPLEMENTAL ANSWERS TO
 DERK JONES FOLEY, individually and
 As an owner, officer, and/or manager of
 Digital Income Systems, Inc., et.al.,

       Defendants.
 __________________________/

         COMES NOW, Defendant, DIGITAL INCOME SYSTEMS, INC.,by and through the

 undersigned counsel, has on March 7, 2021, served supplemental answers to the interrogatories

 and requests for production propounded to DIS by the Federal Trade Commission on January 13,

 2021.

                                                    Respectfully submitted,

                                                    By: /s/ Julio Gutierrez
                                                    Julio Gutierrez
                                                    FBN 602426
                                                    jgpa@msn.com
                                                    Law Office of Julio Gutierrez, P.A.
                                                    2464 S.W. 137 Avenue
                                                    Miami, FL 33175
                                                    Tel: (305) 325-8600
                                                    Fax: (305) 553-9313
                                                    Attorney for the Plaintiff


                                CERTIFICATE OF SERVICE

         I HEREBY certify that on this 7th day of March, 2021, I electronically filed the
Case 1:20-cv-24721-UU Document 54 Entered on FLSD Docket 03/07/2021 Page 2 of 3




 foregoing document with the Clerk of the Court using CM/ECF. I also certify that the foregoing

 document is being served this day on all counsel on record or pro se parties identified on the

 Service List below in the manner specified, either via transmission of Notices of Electronic

 Filing generated by CM/ECF or in some other authorized manner for those counsel or parties

 who are not authorized to receive electronically Notices of Electronic Filing.

                                                      /s/ Julio Gutierrez
                                                      FL Bar No. 602426

 Service List

 Harold E.Kirtz, Trial Counsel
 Lara Tumeh, Trial Counsel
 Federal Trade Commission
 225 Peachtree Street, Suite l500
 Atlanta, Georgia 30303
 llkirtz@ftc.cov
 ltumeh@ftc.gov

 Curtis B. Miner, Esq.
 COLSON HICKS EIDSON, P.A.
 255 AlhambraCircle, Penthouse
 Coral Gables, Florida 33134
 curt@colson.com

 Joseph S. Rosenbaum, Esquire
 ROSENBAUM & ACEVEDO, LLP
 40 NW 3rd Street, Suite 200
 Miami, Florida 33128
 jsr@rosenbaumacevedolaw.com

 Edward Maldonado, Esq.
 Maldonado Law Group
 800 Douglas Road Suite 149
 Coral Gables, FL 33134
 Email: eam@maldonado-group.com

 Christopher Brandon Frye, Pro Se
 45156 West Zion Rd.
 Maricopa, AZ 85139
Case 1:20-cv-24721-UU Document 54 Entered on FLSD Docket 03/07/2021 Page 3 of 3




 Kaitlyn Scott, Pro Se
 1271 Hadley Circle, 3202
 Myrtle Beach, SC 29577
